                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE
                           NORTHERN DIVISION, AT KNOXVILLE


JERROLD WILLIAMS and         )
LISA WILLIAMS                )
                             )
                             )
    Plaintiffs,              )
                             )
v.                           )                                 Case No. 3:20-cv-00288
                             )                                 District Judge Varlan
CAMM CARE, LLC d/b/a PATRIOT )                                 Magistrate Judge Guyton
HOMECARE, CHRISTOPHER CALEB  )
MULLINS, and BARBARA MEGAN )
MULLINS,                     )
                             )
    Defendants.              )


                AGREED STIPULATION OF DISMISSAL WITH PREJUDICE



COME NOW Plaintiffs Jerrold Williams and Lisa Williams, and Defendants CAMM Care, LLC d/b/a

Patriot Homecare, Christopher Caleb Mullins and Barbara Megan Mullins, and through their undersigned

counsel, hereby agree and stipulate that the above-styled cause of action and all claims contained therein

should be DISMISSED WITH PREJUDICE, with court costs accrued in the United States District

Court for the Eastern District of Tennessee, Northern Division, at Knoxville, to be taxed to the

Defendants.


Dated: July 27, 2020.




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                             Respectfully submitted,


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                             Attorney for the Plaintiffs,
                             Jerrold Williams and Lisa Williams


                             -and-


                             BONE McALLESTER NORTON PLLC


                             /s William J. Haynes, III
                             William J. Haynes, III
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                             Counsel for Defendants CAMM Care, LLC d/b/a
                             Patriot Homecare, Christopher Caleb Mullins and
                             Barbara Megan Mullins, Defendants




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                                 CERTIFICATE OF SERVICE


         This is to certify that on July 27, 2020 I filed a true and correct copy of the foregoing

document with the Clerk of the Court using the CM/ECF system. I have also placed a copy of the

same in the mail to be delivered to the Plaintiffs, who are represented by counsel, at:

                Ben M. Rose
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                Attorney for Plaintiffs




                                                      /s/ William J. Haynes, III
                                                      William J. Haynes, III
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